Case 1:21-cv-00272-MSM-LDA Document1 Filed 06/24/21 Page 1 of 3 PagelD #: 1

UNITED STATES DISTRICT COURT
For the

DISTRICT OF RHODE ISLAND my py oy Pf Th

Plaintiff, CA; 2 N bee ne
Department of Children, Youth 1

 

 

And Families

VS. Family Court No. PJ2000-2943
Defendant, Supreme Court No. SU2021-0098A
Carline Vilbon

 

DATED: June 10, 2021

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1446, (b) (3), (c), 28 USC § 2241, and the fourteenth
Amendment of the United States’ Constitution, I Carline Vilbon, the Defendant — Petitioner, by

way of removal would respectfully show unto this Court:

1. This action was commenced by the filing of a Summons and Complaint on October 18, 2020,

in the Rhode Island Family Court, in the Providence county.

2. Thirty days have elapsed since the receipt of the Complaint by the Defendant upon whom it
has been served and one year has not elapsed since the commencement of this action. The
Defendant-Petitioner has exhausted all state court remedies as evidenced by the attached court
orders of the Rhode Island Family Court decision of March 18, 2021 and the Supreme Court
order of June 4, 2021.

Title 28 U.S.C § 2241 (d) gives the United States district court’s jurisdiction to entertain

Page 1 of 3

 
Case 1:21-cv-00272-MSM-LDA Document1 Filed 06/24/21 Page 2 of 3 PagelD #: 2

petitions for habeas relief only from persons who are in custody in violation of the Constitutions
or laws or treaties of the United States. In addressing who may seek habeas relief, however, the
U.S. Supreme Court has indicated that “Nothing in the language of [ 28 U.S.C. § 2244 |
requires that the state court judgment pursuant to which a person is in custody be a criminal

conviction.

3. Pursuant to 28 U.S.C. '1441(a), the Defendant may remove to the District Court of the United
States, for the district and division embracing the place where such action is pending, any civil
action brought in a state court of which the district courts of the United States have original -
jurisdiction. Pursuant to 28 U.S.C. '1441(b), any civil action of which the district courts have
original jurisdiction founded on a claim or right arising under the Constitution or laws of the

United States shall be removable without regard to the citizenship or residence of the parties.

4. By virtue of 28 U.S.C. "1331 and 1343(a), the United States District Court has original
jurisdiction of any civil action for a claim under 42 U.S.C. '1983. Section 1983 does not
expressly prohibit removal and the existence of concurrent jurisdiction in the state court over

claims under 42 U.S.C. '1983 is insufficient, standing alone, to defeat the right of removal

granted the Defendant under 28 U.S.C. '1441 and 28 U.S.C. § 1446, (b) (3), (©).

5. By virtue of the foregoing, the Defendant Carline Vilbon hereby removes this action to the

United States District Court for the District of Rhode Island.
6. The Defendant City files herewith in this Court a copy of all process, pleadings and orders

(a) Served by or upon them in this action, as a part of the Notice of Removal, which
consists of the Summons and Complaint dated June 10. 2021.

Page 2 of 3

 
Case 1:21-cv-00272-MSM-LDA Document1 Filed 06/24/21 Page 3 of 3 PagelD #: 3

(b) The Clerk of Rhode Island Family Court, Juvenile division, and the Rhode Island
Supreme Court, from which this action is removed, and Plaintiff's counsel shall promptly
be given written Notice that the Notice of Removal has been filed and shall be provided a

copy of the Notice of Removal.

WHEREFORE, the Defendant prays that this Notice of Removal be accepted as sufficient for

removal of this action to this Court.

Respectfully submitted,

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Carline Vilbon
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Ph: (401) 654-3470
Email: 0oxso8
Dated: June 17, 2021

Page 3 of 3

 
